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                           EXHIBIT A

  INDEX OF CLAIMS SUBJECT TO FIRST OMNIBUS OBJECTION
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                       Index of Claims Subject to First Omnibus Objection

         Name of Claimant                 Claim No.   Exhibit           Objection Basis
  A.P., a minor, by and through her
   parent and guardian, Amy Sok             1559         A             Duplicative Claims
  A.P., a minor, by and through her
   parent and guardian, Amy Sok             1560         A             Duplicative Claims
  A.P., a minor, by and through her
   parent and guardian, Amy Sok             1558         A             Duplicative Claims
  A.P., a minor, by and through her
   parent and guardian, Amy Sok             1555         A             Duplicative Claims
  A.P., a minor, by and through her
   parent and guardian, Amy Sok             1557         A             Duplicative Claims
  A.P., a minor, by and through her
   parent and guardian, Amy Sok             1561         A             Duplicative Claims

             Airmasters                      373         C       Amended and Superseded Claims

    Alpha Trust Real Estate, LLC            1680         A             Duplicative Claims

    Alpha Trust Real Estate, LLC            1046         C       Amended and Superseded Claims

  American Refrigeration Supplies            113         A             Duplicative Claims

            Boult, Chris                     716         A             Duplicative Claims
 Charles Schwab & Co. FBO James
              Boston                         591         E           Unsecured Notes Claims

             Cine, Annie                     593         A             Duplicative Claims

           City of Denton                    841         A             Duplicative Claims

         City of Sugar Land                  192         A             Duplicative Claims

City Utilities of Springfield, Missouri      332         A             Duplicative Claims

          Coastal Carbonic                   115         C       Amended and Superseded Claims

 Commonwealth Edison Company                 287         C       Amended and Superseded Claims
 Consolidated Edison Company of
         New York Inc.                       259         C       Amended and Superseded Claims

        Coolers Incorporated                 293         C       Amended and Superseded Claims

         Dentons US LLP                     1529         B                   Late Filed
    Diversion Y Entretenimiento
       Vicotria, S.A. de C.V.               1363         B              Late Filed Claims

  Domestic Linen Supply Co., Inc.           1338         B              Late Filed Claims

  Donna L. and Bryan D. Schulze              486         E                  Notes Claims

     Duquesne Light Company                 1669         B              Late Filed Claims
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        Name of Claimant                Claim No.    Exhibit         Objection Basis
          Eagle, Matthew                   647         A             Duplicative Claims

        Energy North LLC                  1514         B             Late Filed Claims

     Fullerton Leasehold LLC              1319         C       Amended and Superseded Claims

        Gilton Solid Waste                1313         B             Late Filed Claims

       Gracely's Lawn Care                 804         C       Amended and Superseded Claims

    Huntington Oaks Associates             183         A             Duplicative Claims

       Interstate AC Service               533         C       Amended and Superseded Claims
  James F. Putman IRA Vanguard
  Fiduciary Trust Co. as Custodian
          Rollover Account                 495         E               Notes Claims

           Jon Don LLC                     583         A             Duplicative Claims

     KRG Shops at Moore LLC               1136         A             Duplicative Claims

    Mason, Clifford and Delores            585         A             Duplicative Claims

    Mason, Clifford and Delores            584         A             Duplicative Claims

Mastercard International Incorporated      922         A             Duplicative Claims
 Michael J. Kaprat, a minor by Ano
        through his mother                 36          A             Duplicative Claims
Noah Allen, an infant by his mother,
          Sherley Diejuste                1289         A             Duplicative Claims

      Oak Valley Centre LLC               1239         C       Amended and Superseded Claims

          Ogletree Deakins                1408         B             Late Filed Claims

            Ohio Edison                   1381         B             Late Filed Claims

          Potomac Edison                  1380         B             Late Filed Claims

    Pure Pressure Power Washing           1370         B             Late Filed Claims
Reilly Wolfson PSP FBO Timothy D.
       Sheffey Mercer Trustee              676         E               Notes Claims
Reilly Wolfson PSP Fbo Timothy D.
 Sheffey, Mercer Trust Co., Trustee        626         E               Notes Claims
Reily Wolfson PSP FBO Timothy D.
 Shaffey Merger Trust Co. Trustee         1037         E               Notes Claims

          Ricoh-USA, Inc.                 1039         C       Amended and Superseded Claims

       ROK Properties, LLC                1581         B             Late Filed Claims

  Rosecrans Plaza Kiffmann, LLC            594         A             Duplicative Claims




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      Name of Claimant             Claim No.    Exhibit         Objection Basis
 Russell Marketing Research Inc.      131         A             Duplicative Claims

 Russell Marketing Research Inc.      198         A             Duplicative Claims

         Sahara 3d LLC                393         A             Duplicative Claims

         Sahara 3d LLC                390         C       Amended and Superseded Claims

         Sahara 3d LLC               1695         C       Amended and Superseded Claims

     Salt River Project/80062        1336         B             Late Filed Claims

      Samuels, Danielle R.           1112         A             Duplicative Claims

        ServiceNow, Inc.             1675         B             Late Filed Claims

         Smith, Shakona              1337         A             Duplicative Claims

       Spall, Jill and Anna          1407         D               Equity Claims

       Texas Gas Service             1314         B             Late Filed Claims

       Texas Gas Service             1362         B             Late Filed Claims

       Texas Gas Service             1339         B             Late Filed Claims

       Texas Gas Service             1310         B             Late Filed Claims

       Texas Gas Service             1335         B             Late Filed Claims

    The Illuminating Company         1382         B             Late Filed Claims

    The Illuminating Company         1679         B             Late Filed Claims

      The McKenzie Trust              687         E               Notes Claims
Thomas Hoffmann Air Conditioning
          and Heating                1355         A             Duplicative Claims

         Toledo Edison               1383         B             Late Filed Claims

       W.W. Grainger, Inc.            738         A             Duplicative Claims

       W.W. Grainger, Inc.            739         A             Duplicative Claims

       W.W. Grainger, Inc.            740         A             Duplicative Claims

       W.W. Grainger, Inc.            741         A             Duplicative Claims

       W.W. Grainger, Inc.            742         A             Duplicative Claims

       W.W. Grainger, Inc.            743         A             Duplicative Claims

       W.W. Grainger, Inc.            810         A             Duplicative Claims

       W.W. Grainger, Inc.            815         A             Duplicative Claims



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     Name of Claimant             Claim No.    Exhibit    Objection Basis
      W.W. Grainger, Inc.            818         A       Duplicative Claims

      W.W. Grainger, Inc.            824         A       Duplicative Claims

      W.W. Grainger, Inc.            826         A       Duplicative Claims

      W.W. Grainger, Inc.            828         A       Duplicative Claims

      W.W. Grainger, Inc.            848         A       Duplicative Claims

      W.W. Grainger, Inc.            855         A       Duplicative Claims

      W.W. Grainger, Inc.            857         A       Duplicative Claims

     W.W. Grainger, Inc.             878         A       Duplicative Claims
WT Stovall Holding Inc. dba J&T
        Refrigeration                629         A       Duplicative Claims

      Zickefoose, Ashley            1205         D         Equity Claims

      Zickefoose, Ashley            1180         D         Equity Claims




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